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 Fill in this information to identify the case:
 Debtor name        Ventech Engineers L.P.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number
 (if known)                                                                                                    Check if this is an
                                                                                                                amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:        Income
1.   Gross revenue from business

        None

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
     adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)


        None

      Creditor's name and address                             Dates            Total amount or value     Reasons for payment or transfer
                                                                                                         Check all that apply
3.1. See Attachment                                                                $519,135.46
      Creditor's name                                                                                       Secured debt
                                                                                                            Unsecured loan repayments
      Street
                                                                                                            Suppliers or vendors
                                                                                                            Services
                                                                                                            Other
      City                            State   ZIP Code




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Debtor         Ventech Engineers L.P.                                                          Case number (if known)
               Name

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


        None

      Insider's name and address                                   Dates            Total amount or value        Reasons for payment or transfer
4.1. See attachment
      Insider's name

      Street




      City                              State      ZIP Code

      Relationship to debtor



5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.


        None

6.   Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
     an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
     the debtor owed a debt.


        None

 Part 3:        Legal Actions or Assignments
7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity--within 1 year before filing this case.


        None

      Case title                                Nature of case                          Court or agency's name and address               Status of case
7.1. See attachment
                                                                                        Name                                                 Pending

                                                                                                                                             On appeal
                                                                                        Street
                                                                                                                                             Concluded

      Case number

                                                                                        City                      State   ZIP Code




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
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Debtor          Ventech Engineers L.P.                                                     Case number (if known)
                Name

8.   Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

         None

 Part 4:          Certain Gifts and Charitable Contributions
9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
     aggregate value of the gifts to that recipient is less than $1,000

         None

 Part 5:          Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

         None

 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.


         None

         Who was paid or who received the transfer?            If not money, describe the property              Dates               Total amount
                                                               transferred                                                          or value
 11.1. Andrews Kurth Kenyon LLP                                                                                                        $375,282.90

         Address

         600 Travis
         Street
         Suite 4200
         Houston                     TX       77002
         City                        State    ZIP Code

         Email or website address
         www.andrewskurth.com

         Who made the payment, if not debtor?




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Debtor          Ventech Engineers L.P.                                                     Case number (if known)
                Name

         Who was paid or who received the transfer?            If not money, describe the property              Dates                Total amount
                                                               transferred                                                           or value
 11.2. O'Melveny & Myers LLP                                                                                                            $50,000.00

         Address

         7 Times Square
         Street


         New York                     NY      10036-6524
         City                         State   ZIP Code

         Email or website address
         www.omm.com

         Who made the payment, if not debtor?



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.


         None

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.


         None

 Part 7:          Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

         Does not apply


         Address                                                                                    Dates of occupancy

 14.1. 1149 Ellsworth                                                                               From      1/1/2008             To    8/31/2016
         Street
         Pasadena, TX 77502

         City                                                 State     ZIP Code




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
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Debtor       Ventech Engineers L.P.                                                     Case number (if known)
             Name


 Part 8:        Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

      diagnosing or treating injury, deformity, or disease, or

      providing any surgical, psychiatric, drug treatment, or obstetric care?

        No. Go to Part 9.
        Yes. Fill in the information below.

 Part 9:        Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

        No.
        Yes. State the nature of the information collected and retained

                Does the debtor have a privacy policy about that information?
                 No.
                 Yes.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

        No. Go to Part 10.
        Yes. Does the debtor serve as plan administrator?
               No. Go to Part 10.
               Yes. Fill in below:
                    Name of plan                                                            Employer Identification number of the plan

                    Ventech Engineers Employee Retirement                                   EIN: 4     5 – 3      7    2    5    3    3    2
                    Has the plan been terminated?
                     No
                     Yes
 Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.


        None




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Debtor         Ventech Engineers L.P.                                                       Case number (if known)
               Name

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

          None

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

          None

Facility name and address                         Names of anyone with access to it           Description of the contents               Does debtor
                                                                                                                                        still have it?
Red brick building
Name
                                                  previously leased from Five Star            Document storage; no longer                  No
                                                  Properties                                  have access to it                            Yes
1100 Broadway,                                    Address
Street
                                                  P. O. Box 1042
Pasadena, TX 77506                                Seabrook, TX 77586;


City                      State   ZIP Code


  Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


          None

  Part 12:        Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

 Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
  the medium affected (air, land, water, or any other medium).


 Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
  formerly owned, operated, or utilized.

 Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
  similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

          No
          Yes. Provide details below.




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Debtor           Ventech Engineers L.P.                                                     Case number (if known)
                 Name

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

         No
         Yes. Provide details below.

24. Has the debtor notified any govermental unit of any release of hazardous material?

         No
         Yes. Provide details below.

 Part 13:           Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

         None

         Business name and address                       Describe the nature of the business         Employer Identification number
 25.1. See attached                                                                                  Do not include Social Security number or ITIN.
         Name
                                                                                                     EIN:          –
         Street
                                                                                                     Dates business existed

                                                                                                     From                     To
         City                        State   ZIP Code

26. Books, records, and financial statements

     26a.       List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                    None

                    Name and address                                                                 Dates of service

      26a.1. Lorrie Campbell-DeBaylo                                                                 From    11/16/1992       To    Present
                    Name
                    1701 Bracket Ct.
                    Street
                    Pearland, TX 77581

                    City                                        State       ZIP Code

                    Name and address                                                                 Dates of service

      26a.2. David LeDoux                                                                            From    5/14/2007        To    6/3/2016
                    Name
                    1111 Woodhorn Drive
                    Street
                    Houston, TX 77062

                    City                                        State       ZIP Code

                    Name and address                                                                 Dates of service

      26a.3. Kefalari Mason                                                                          From      7/6/15         To    Present
                    Name
                    13810 Majestic Spring Lane
                    Street
                    Humble, TX 77396

                    City                                        State       ZIP Code




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Debtor        Ventech Engineers L.P.                                                        Case number (if known)
              Name

     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
            statement within 2 years before filing this case.

                None

                Name and address                                                                    Dates of service

       26b.1. Doeren Mayhew                                                                         From                      To
                Name
                One Riverway, Suite 1200
                Street
                Houston, TX 77056

                City                                          State       ZIP Code

     26c.   List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

                None

                Name and address                                                                 If any books of account and records are
                                                                                                 unavailable, explain why
         26c.1. Ernst & Young
                Name
                1401 McKinney
                Street
                Suite 1200
                Houston                                       TX          77010-2007
                City                                          State       ZIP Code

     26d.   List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
            financial statement within 2 years before filing this case.

                None

                Name and address

       26d.1. See attachment
                Name

                Street




                City                                          State       ZIP Code

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

         No.
         Yes. Give the details about the two most recent inventories.

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                     Address                                      Position and nature of any interest          % of interest, if any

See attachment




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Debtor          Ventech Engineers L.P.                                                    Case number (if known)
                Name

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

         No
         Yes. Identify below.

Name                                      Address                                    Position and nature of        Period during which position
                                                                                     any interest                  or interest was held
See attachment                                                                                                     From               To

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

         No
         Yes. Identify below.

         Name and address of recipient                Amount of money or description           Dates              Reason for
                                                      and value of property                                       providing the value


 30.1. See attachment
         Name

         Street




         City                    State   ZIP Code

         Relationship to debtor



31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

         No
         Yes. Identify below.

Name of the parent corporation                                                   Employer Identification number of the parent corporation
Ventech Engineers LP                                                             EIN: 9      0 – 0       9    0     0     9   4   3
32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

         No
         Yes. Identify below.




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Ventech Engineers L.P.
Attachment 3.1 - Form 207 Part 2, Question 3
Payments/Transfers 90 Days Before Petition


Name                                           Address                     City       State   Zip         Country Sum of Line Item Amount
 ANDREWS KURTH KENYON LLP                      600 TRAVIS, SUITE 4200      Houston    TX      77002       USA                      375,282.90
 DOEREN MAYHEW                                 ONE RIVERWAY DR, STE 1200   Houston    TX      77056       USA                       72,850.00
 KING & SPALDING                               PO BOX 116133               ATLANTA    GA      303686133   USA                       21,002.56
 O'MELVENY & MYERS LLP                         7 TIMES SQUARE              NEW YORK   NY      100366524   USA                       50,000.00
Grand Total                                                                                                                        519,135.46
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Ventech Engineers L.P.
Attachment 4.1 - Form 207 Part 2, Question 4
Payments/Transfers to Insiders 1 Year Before Petition


Name                                            Address                                   City          State   Zip         Country Sum of Line Item Amount
 BRUCE SMITH                                    400 ELIZABETH ROAD                        San Antonio   TX      78209       USA                        18,000.00
 IAN ANDERSON                                   48 Sugar Berry Circle                     HOUSTON       TX      77024       USA                        31,260.68
 JOERG MATTHIESSEN                              222 12th Street, Unit 2107                Atlanta       GA      30309       USA                       366,500.00
 ROBERT H WALLS, JR                             132 PARK HILL DR                          San Antonio   TX      78212       USA                        45,111.92
 COOPERS INVESTMENT PARTNERS, LLC               1114 AVENUE OF THE AMERICAS, 41st Floor   New York      NY      100360036   USA                        14,620.95
 VENTECH ENERGY LLC                             100 PASADENA BLVD.                        Pasadena      TX      77506       USA                       307,000.00
 VENTECH ENGINEERS HOLDING B.V.                 100 PASADENA BLVD.                        Pasadena      TX      77506       USA                     3,070,000.00
 VENTECH ENGINEERS INTL.                        100 PASADENA BLVD.                        Pasadena      TX      77506       USA                    17,050,205.90
 VENTECH ENGINEERS LLC                          100 PASADENA BLVD.                        Pasadena      TX      77506       USA                       425,000.00
 VENTECH ENGINEERS N.A.                         100 PASADENA BLVD.                        Pasadena      TX      77506       USA                       657,000.00
 VENTECH ENGINEERS USA                          100 PASADENA BLVD.                        Pasadena      TX      77506       USA                     1,125,000.00
 VENTECH INTERNATIONAL PROJECTS LLC             100 PASADENA BLVD.                        Pasadena      TX      77506       USA                        22,000.00
 VENTECH REFINING SOLUTIONS                     100 PASADENA BLVD.                        Pasadena      TX      77506       USA                       790,000.00
 VENTECH XTL OKLAHOMA CITY LLC                  100 PASADENA BLVD.                        Pasadena      TX      77506       USA                     3,710,921.37
Grand Total                                                                                                                                        27,632,620.82
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Attachment 7.1
Form 207, Part 3, Question 7 --- Legal Actions


Company               Title                                Case No.        Nature of Case              Court Name                          Court Address              Party Contact Information              Status
Ventech North America WBI Energy, Inc. v. Ventech          01-16-0004-9552 Breach of Contract          American Arbitration Association    13727 Noel Road                                                   Settled; Pending Paperwork
                      Engineers North America LLC                                                                                          Suite 700
                                                                                                                                           Dallas, TX 75240
Ventech Energy, VELP,   TexStar Midstream Service, LP v.   2015-49039      Breach of Contract;         Harris County District Court - 11th 201 Caroline, 9th Floor    TexStar Midstream Services, LP         Settled; Pending Paperwork
VEILLC                  Ventech Energy LLC, et al.                         Negligence; Alter Ego;      Judicial District                   Houston, Texas 77002       18615 Tuscany Stone, Suite 300
                                                                           Breach of Warranties                                                                       San Antonio, Texas 78258

                                                                                                                                                                      Counsel:
                                                                                                                                                                      Gregory Cokinos
                                                                                                                                                                      Cokinos Young
                                                                                                                                                                      Four Houston Center
                                                                                                                                                                      1221 Lamar, 16th Floor
                                                                                                                                                                      Houston, Texas 77010

Ventech USA; VELP       Bay Ltd. v. Ventech Engineers      2015-61086      Breach of Contract; Breach Harris County District Court - 127th 201 Caroline, 10th Floor   BMS Project Services, LLC              Settled as to Bay; Settled as
                        USA, LLC, et al.                                   of Warranties; Payment     Judicial District                    Houston, Texas 77002       PO Box 791 807                         to Buckeye; Settled as to
                                                                           Bond Claim; Quantum                                                                        Wayne Road, Eunice, LA, 70535          Weschester; Pending as to
                                                                           Meruit; Tortious                                                                                                                  BMS
                                                                           Interference                                                                               Counsel for their insurance carrier:
                                                                                                                                                                      Andrew McCluggage
                                                                                                                                                                      Thompson Coe
                                                                                                                                                                      One Riverway, Suite 1400
                                                                                                                                                                      Houston, Texas 77056
Ventech BV, VELP        Ventech Engineers Holding BV v.    153196          Breach of Contract;          London Court of International      70 Fleet Street                                                   Settled
                        Taq Taq Operating Co. Ltd.                         Injunctive Relief to prevent Arbitration                        London EC4Y 1EU
                                                                           Letters of Credit from
                                                                           being drawn

VELP                    IRS 2012 Tax audit                 n/a             tax audit for 2012          Internal Revenue Service            1919 Smith St                                                     closed in January 2017
                                                                                                                                           Houston, TX 77002
VELP                    IRS 2013 Tax audit                 n/a             tax audit for 2013          Internal Revenue Service            1919 Smith St                                                     underway
                                                                                                                                           Houston, TX 77002
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Ventech Engineers L.P.
Attachment 25
Form 207, Part 13, Question 25 - Other businesses in which the debtor has or has had an interest

Name of Entity                                      % Owned         Current Value of Interest**

Ventech Engineers LLC                                  100                     0.00
Ventech Energy LLC                                     100                     0.00
Ventech Offshore S.A.*                                 100                     0.00
Ventech Engineers International LLC                    100                     0.00
Ventech Management, Inc.*                              100                     0.00
Ventech Fabrication Services LLC                       100                     0.00
Ventech Engineers North America LLC                    100                     0.00
Ventech Engineers USA LLC                              100                     0.00
Ventech Vessel Fabricators LLC                         100                     0.00
Ventech Global Projects, Inc.                          100                     0.00
Ventech International Projects LLC                     100                     0.00
Ventech Global Construction LLC                        100                     0.00
Ventech Modular Fabricators LLC                        100                     0.00
Ventech Refining Solutions LLC                         100                     0.00
Ventech Plant Constructors LLC                         100                     0.00
Ventech Engineers & Fabricators LLC                    100                     0.00
Ventech Industrial Contractors LLC                     100                     0.00
Ventech XTL LLC                                        100                     0.00


*Non-debtor

** The book value may be different from the estimated current value of interest.


See attached corporate structure chart
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Attachment 26d - Form 207 Part 13, Question 26d
Books, records, and financial statements --- List of parties to whom Debtors issued a financial statement within 2 years

Name                                      Dept/Contact                          Address                                        City State Zip                   Notes
Frost Bank                                Banking, Investments, Insurance       9821 Katy Fwy, Suite 100                       Houston, Texas 77024
Bank of America                           Attn Thomas Czerwinski                700 Louisiana Street, 8th Floor                Houston, TX 77002
John L. Wortham & Son, LP                 Phil Bair                             2727 Allen Parkway, Suite 2100                 Houston, TX 77019
Cooper Investment Partners                                                      1633 Broadway, 18th Floor                      New York, NY 10019
Stanley Investment Partners Inc                                                 P. O. Box 1042                                 Seabrook, TX 77586
Ernst & Young                                                                   1401 McKinney, Suite 1200 (5 Houston Center)   Houston, TX 77010-2007
EXPORT DEVELOPMENT CANADA                                                       150 Slater St.                                 Ottawa, Ontario,Canada K1A 1K3
King & Spalding, LLP                      Ed Ripley                             1100 Louisiana, Suite 4000                     Houston, Texas 77002
Cokinos/Young                             in conjunction with Texstar litigationFour Houston Center, 1221 Lamar, 16th Floor    Houston, Texas 77010
                                                                                                                                                                Ventech Engineers North
Porter Hedges LLP                         in conjunction with DPR litigation   1000 Main Street, 36th Fl.                      Houston, Texas 77002             America LLC financials only
Westchester Fire Insurance Company        Doug Wills                           15 Mountain View Road, P.O. Box 1616            Warren, New Jersey 07059, USA
Mastec                                    Pablo Alvarez                        800 Douglas Road, 12th Floor                    Coral Gables, FL 33134
JLS Capital Strategies LLC                John Schuster                        1875 K Street, NW                               Washington, DC 20006
Pyramid E&C/Turnkey Specialists Inc.      Ashish Bajpai                        12121 Wickchester Ln. #200                      Houston, TX 77079                ashish.bajpai@pyramidenc.com
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Attachment 28 and 29 - Form 207 Part 13, Questions 28 and 29
Officers, Directors, Managing Members, etc.



                                                                                                                                                                       Type/
                                                        Registered                                                      Authorized                                             Depository Bank Charter No./   Taxpayer ID
            Corporation                Date of Inc.                      Directors/Managers            Officers                    Issued Shares Shareholder/Member    Year
                                                       Agent/Address                                                     Shares                                                  Account No.  Incorporated In    No.
                                                                                                                                                                        End

                                      8/31/2011                                                 Pres Ian Anderson                   Ventech           SIPI            Dec                         Delaware        XX-XXXXXXX
                                                                      Joerg Mattheissen,        Sec Laura Hotard                    Holdings 1 LLC:
                                                                      Chairman; Directors:      Tres Kefalari Mason                 A - 7,000 limited
                                                                      Kevin Stanely, Kreg       VP Engineering Dennis               units SIPI B -
                                                      CSC Corporation                                                               3,000 Limited
          Ventech GP LLC                                              Stanley, Mitch Taylor,    Smith
                                                      Service Company                                                               Units    393
                                                                      Steve Cooper, Rob         VP Procurement,
                                                                                                                                    Common
                                                                      Walls and Bill Stanley,   Logistics, &                        Sharess
                                                                      Ian Anderson              Subcontracts Johnny
                                                                                                Virgin
Ventech Engineers L.P. (formerly      4/27/1977,      CSC Corporation Ventech GP, LLC,          Pres Ian Anderson       1,000,000   SIPI: 11.8%,  General Partner:    Dec      J.P. Morgan        Delaware #      XX-XXXXXXX
Ventech, Inc.)                        name & state    Service Company General Partner           Sec Laura Hotard        common      Ventech       Ventech GP LLC               Chase Bank, N.A.   5032190         (formerly 74-
                                      converted                       Kefalari Mason,           Tres Kefalari Mason                 Holdings 3,                                1884880889         (formerly Texas 1921283)
                                      8/31/11                         Manager                   VP Engineering Dennis               LLC (Cooper):                              Swift Code No.     404102-0)
                                                                                                Smith                               88.2%,                                     CHASUS33
                                                                                                VP Procurement,                     Ventech GP:                                ABA 021000021
                                                                                                Logistics, &                        1%s
                                                                                                Subcontracts Johnny
                                                                                                Virgin
Ventech Engineers LLC (formerly       6/21/1967                        Kefalari Mason,          Pres Ian Anderson       50,000      9,894            VELP             LLC      J.P. Morgan        801473809       XX-XXXXXXX
Ventech Engineers, Inc.)              Restated                         Manager                  Sec Laura Hotard        common                                        Dec      Chase Bank         Texas
                                      Articles 6/27/97                                          Tres Kefalari Mason     50,000                                                 1884880830
                                      converted                                                 VP Engineering Dennis   preferred
                                                       CSC Corporation
                                      8/31/11                                                   Smith
                                                       Service Company
                                                                                                VP Procurement,
                                                                                                Logistics, &
                                                                                                Subcontracts Johnny
                                                                                                Virgin
Ventech Fabrication Services LLC      2/8/1999                     Kefalari Mason,              Pres Ian Anderson       1,000,000   1,000            VELP (1,000)     LLC                         801473798       XX-XXXXXXX
(formerly Ventech Fabrication         name changed                 Manager                      Sec Laura Hotard                                                      Dec                         Texas
Services, Inc. (formerly Ventech      10/26/07 &                                                Tres Kefalari Mason
Relocation Services, Inc., formerly   9/7/10 &                                                  VP Engineering Dennis
                                                   CSC Corporation
Tartar Properties, Inc.)              converted                                                 Smith
                                                   Service Company
                                      8/30/11                                                   VP Procurement,
                                                                                                Logistics, &
                                                                                                Subcontracts Johnny
                                                                                                Virgin
Ventech Engineers International       6/24/1976       CSC Corporation Kefalari Mason,           Pres Ian Anderson       10,000      1,000            VELP (1,000)     LLC      J.P. Morgan        801473815       XX-XXXXXXX
LLC (formerly Ventech Engineers                       Service Company Manager                   Sec Laura Hotard                                                               Chase Bank         Texas
International Corp. f/k/a Ventech                                                               Tres Kefalari Mason                                                            1560184507
Manufacturing, Inc.)                                                                            VP Engineering Dennis
                                                                                                Smith
                                                                                                VP Procurement,
                                                                                                Logistics, &
                                                                                                Subcontracts Johnny
                                                                                                Virgin
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                                                                                                                                                                           Type/
                                                        Registered                                                      Authorized                                                 Depository Bank Charter No./   Taxpayer ID
            Corporation                Date of Inc.                      Directors/Managers           Officers                     Issued Shares Shareholder/Member        Year
                                                       Agent/Address                                                     Shares                                                      Account No.  Incorporated In    No.
                                                                                                                                                                            End

Ventech Energy LLC (formerly         2/3/1984                           Kefalari Mason,        Pres Ian Anderson        1,000,000   1,000         VELP(1,000) (purchased LLC       Frost National  801473791          XX-XXXXXXX
Ventech Energy Corporation)          converted                          Manager                Sec Laura Hotard                                   from Holding 1/20/11)  Dec       Bank, 694020847 Texas
                                     8/30/11                                                   Tres Kefalari Mason
                                                                                               VP Engineering Dennis
                                                      CSC Corporation
                                                                                               Smith
                                                      Service Company
                                                                                               VP Procurement,
                                                                                               Logistics, &
                                                                                               Subcontracts Johnny
                                                                                               Virgin
Ventech International Services       5/4/2007                           Jenny Santiago -       Ian Anderson - Director,             20,000        VEIC (19.979)     Anaa Dec                         Philippines
Philippines, Inc.                                                       Director               Pres. Chairman                                     Gongora 1      Jon
                                                                        Mia Carissa Martin -   Dennis Smith - Director,                           Bello 1     Jorge Abes
                                                                        Director               VP                                                 1      Anthony Abenir 1
                                                                        Israfel Fagela -       Kef Masonl Treasurer                               Enrique Vera 1     Rick
                                                                        Secretary                                                                 Stockton 1

Ventech Management, Inc.             10/28/2005       Maples & Calder Kefalari Mason,          Pres Ian Anderson       50,000       1,000         VELP.(1,000)            Dec      First Caribbean   Cayman Islands    XX-XXXXXXX
                                                      P. O. Box 309       Director             Sec Laura Hotard
                                                      Grand Cayman,                            Tres Kefalari Mason
                                                      Cayman Island                            VP Engineering Dennis
                                                      British West Indies                      Smith
                                                                                               VP Procurement,
                                                                                               Logistics, &
                                                                                               Subcontracts Johnny
                                                                                               Virgin
Ventech Offshore, S. A. f/k/a Ventech 6/10/1981       Maples & Calder Kefalari Mason,          Pres Ian Anderson       50,000       1,000         VELP.(1,000)            June                       22077             XX-XXXXXXX
International, S.A.                                   P. O. Box 309       Director             Sec Laura Hotard        (converted                                                                    Cayman Islands
                                                      Grand Cayman,                            Tres Kefalari Mason     12/19/04)
                                                      Cayman Island                            VP Engineering Dennis
                                                      British West Indies                      Smith
                                                                                               VP Procurement,
                                                                                               Logistics, &
                                                                                               Subcontracts Johnny
                                                                                               Virgin
 Ventech Engineers Holding BV        4/28/1928        Locatellikade     Kefalari Mason,        Pres Ian Anderson       90,000 Euros 180 shares    Ventech Offshore S.A.   June                       Netherlands      Netherlands
(formerly Neco Investments I BV)     (amended &       1,1076AZ          Director               Sec Laura Hotard        Capital      (value 100                                                       32064599
(Ventek Insaat ve Tesisat A.S.)      acquired         Amesterdam /                             Tres Kefalari Mason                  Euros each)
                                     6/13/2007)       Postbus 75215,                           VP Engineering Dennis
                                                      1070AE                                   Smith
                                                      Amsterdam                                VP Procurement,
                                                                                               Logistics, &
                                                                                               Subcontracts Johnny
                                                                                               Virgin
Ventech Engineers North America      5/8/2008                           Kefalari Mason,        Pres Ian Anderson       1,000,000    1,000         VELP.(1,000)            LLC      JP Morgan Chase 801473806                    26-
LLC (formerly Ventech Engineers      converted                          Manager                Sec Laura Hotard                                                           Dec      Bank            Texas              2607325
North America, Inc.)                 8/30/11                                                   Tres Kefalari Mason
                                                                                               VP Engineering Dennis
                                                      CSC Corporation
                                                                                               Smith
                                                      Service Company
                                                                                               VP Procurement,
                                                                                               Logistics, &
                                                                                               Subcontracts Johnny
                                                                                               Virgin
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                                                                                                                                                                      Type/
                                                          Registered                                                   Authorized                                             Depository Bank Charter No./   Taxpayer ID
            Corporation                  Date of Inc.                     Directors/Managers          Officers                    Issued Shares Shareholder/Member    Year
                                                         Agent/Address                                                  Shares                                                  Account No.  Incorporated In    No.
                                                                                                                                                                       End

Ventech Engineers USA LLC               5/8/2008        CSC Corporation Kefalari Mason,        Pres Ian Anderson     1,000,000    1,000        VELP(1,000)           LLC      JP Morgan Chase 801473811      XX-XXXXXXX
(formerly Ventech Engineers USA,        converted       Service Company Manager                Sec Laura Hotard                                                      Dec      Bank            Texas
Inc.)                                   8/30/11                                                Tres Kefalari Mason
                                                                                               VP Engineering Dennis
                                                                                               Smith
                                                                                               VP Procurement,
                                                                                               Logistics, &
                                                                                               Subcontracts Johnny
                                                                                               Virgin
Ventech Vessel Fabricators LLC          9/9/2008        CSC Corporation Kefalari Mason,        Pres Ian Anderson     1,000,000            1,000 VELP (1,000)         Dec                     801473820      XX-XXXXXXX
(formerly Ventech Vessel Fabricators,   converted       Service Company Manager                Sec Laura Hotard                                                                              Texas
Inc.)                                   8/30/11                                                Tres Kefalari Mason
                                                                                               VP Engineering Dennis
                                                                                               Smith
                                                                                               VP Procurement,
                                                                                               Logistics, &
                                                                                               Subcontracts Johnny
                                                                                               Virgin
Ventech Global Projects, Inc.           6/29/2009       CSC Corporation Kefalari Mason,        Pres Ian Anderson     1,000,000            2,500 VELP(2,500)          C                       801140365      XX-XXXXXXX
                                                        Service Company Manager                Sec Laura Hotard                                                      June                    Texas
                                                                                               Tres Kefalari Mason
                                                                                               VP Engineering Dennis
                                                                                               Smith
                                                                                               VP Procurement,
                                                                                               Logistics, &
                                                                                               Subcontracts Johnny
                                                                                               Virgin
Ventech International Projects LLC, 3/5/2010            CSC Corporation Kefalari Mason,        Pres Ian Anderson        1,000,000         1,000 VELP                 LLC                     801473803      XX-XXXXXXX
(formelry Ventech International     converted           Service Company Manager                Sec Laura Hotard                                                      Dec                     Texas
Projects, Inc.)                     8/30/11                                                    Tres Kefalari Mason
                                                                                               VP Engineering Dennis
                                                                                               Smith
                                                                                               VP Procurement,
                                                                                               Logistics, &
                                                                                               Subcontracts Johnny
                                                                                               Virgin
Ventek Insaat ve Tesisat A.S.                                           Kefalari Mason                                                         Ventech Engineers                                            Turkey
                                                                        Director                                                               Holding B.V. (63%)
Ventech Global Construction LLC         9/27/2012       CSC Corporation Kefalari Mason,        Pres Ian Anderson                               VELP                  Dec                     801662153      XX-XXXXXXX
                                                        Service Company Manager                Sec Laura Hotard                                                                              Texas
                                                                                               Tres Kefalari Mason
                                                                                               VP Engineering Dennis
                                                                                               Smith
                                                                                               VP Procurement,
                                                                                               Logistics, &
                                                                                               Subcontracts Johnny
                                                                                               Virgin
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                                                                                                                                                                 Type/
                                                     Registered                                                   Authorized                                             Depository Bank Charter No./   Taxpayer ID
           Corporation              Date of Inc.                     Directors/Managers          Officers                    Issued Shares Shareholder/Member    Year
                                                    Agent/Address                                                  Shares                                                  Account No.  Incorporated In    No.
                                                                                                                                                                  End

Ventech Modular Fabricators LLC    9/27/2012       CSC Corporation Kefalari Mason,        Pres Ian Anderson                              VELP                   Dec                     801662179      XX-XXXXXXX
                                                   Service Company Manager                Sec Laura Hotard                                                                              Texas
                                                                                          Tres Kefalari Mason
                                                                                          VP Engineering Dennis
                                                                                          Smith
                                                                                          VP Procurement,
                                                                                          Logistics, &
                                                                                          Subcontracts Johnny
                                                                                          Virgin
Ventech Refining Solutions LLC     1/10/2013       CSC Corporation Kefalari Mason,        Pres Ian Anderson                              VELP                   Dec                     801715757      XX-XXXXXXX
                                                   Service Company Manager                Sec Laura Hotard                                                                              Texas
                                                                                          Tres Kefalari Mason
                                                                                          VP Engineering Dennis
                                                                                          Smith
                                                                                          VP Procurement,
                                                                                          Logistics, &
                                                                                          Subcontracts Johnny
                                                                                          Virgin
Ventech Plant Constructors LLC     1/10/2013       CSC Corporation Kefalari Mason,        Pres Ian Anderson                              VELP                   Dec                     801715770      XX-XXXXXXX
                                                   Service Company Manager                Sec Laura Hotard                                                                              Texas
                                                                                          Tres Kefalari Mason
                                                                                          VP Engineering Dennis
                                                                                          Smith
                                                                                          VP Procurement,
                                                                                          Logistics, &
                                                                                          Subcontracts Johnny
                                                                                          Virgin
Ventech Engineers & Fabricators    1/10/2013       CSC Corporation Kefalari Mason,        Pres Ian Anderson                              VELP                   Dec                     801715756      XX-XXXXXXX
LLC                                                Service Company Manager                Sec Laura Hotard                                                                              Texas
                                                                                          Tres Kefalari Mason
                                                                                          VP Engineering Dennis
                                                                                          Smith
                                                                                          VP Procurement,
                                                                                          Logistics, &
                                                                                          Subcontracts Johnny
                                                                                          Virgin
Ventech Industrial Contractors LLC 1/10/2013       CSC Corporation Kefalari Mason,        Pres Ian Anderson                              VELP                   Dec                     801715769      XX-XXXXXXX
                                                   Service Company Manager                Sec Laura Hotard                                                                              Texas
                                                                                          Tres Kefalari Mason
                                                                                          VP Engineering Dennis
                                                                                          Smith
                                                                                          VP Procurement,
                                                                                          Logistics, &
                                                                                          Subcontracts Johnny
                                                                                          Virgin
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                                                                                                                                                              Type/
                                                   Registered                                                   Authorized                                            Depository Bank Charter No./   Taxpayer ID
           Corporation            Date of Inc.                     Directors/Managers          Officers                    Issued Shares Shareholder/Member   Year
                                                  Agent/Address                                                  Shares                                                 Account No.  Incorporated In    No.
                                                                                                                                                               End

Ventech XTL LLC                  8/22/2013       CSC Corporation Kefalari Mason,        Pres Ian Anderson                              VELP                                          801838474      XX-XXXXXXX
                                                 Service Company Manager                Sec Laura Hotard                                                                             Texas
                                                                                        Tres Kefalari Mason
                                                                                        VP Engineering Dennis
                                                                                        Smith
                                                                                        VP Procurement,
                                                                                        Logistics, &
                                                                                        Subcontracts Johnny
                                                                                        Virgin
Ventech XTL Oklahoma City, LLC   4/3/2014        CSC Corporation Kefalari Mason,        Pres Ian Anderson                              Ventech XTL LLC                               801965535      XX-XXXXXXX
                                                 Service Company Manager                Sec Laura Hotard                                                                             Texas
                                                                                        Tres Kefalari Mason
                                                                                        VP Engineering Dennis
                                                                                        Smith
                                                                                        VP Procurement,
                                                                                        Logistics, &
                                                                                        Subcontracts Johnny
                                                                                        Virgin
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Name                                Position           Address                                    City         State Zip
 DENNIS SMITH                        Officer            195 N HARBOR DRIVE, #5303                  Chicago      IL     60601
 JOERG MATTHIESSEN                   Chairman/Director  222 12TH STREET, UNIT 2107                 Atlanta      GA     30309
 JOHNNY VIRGIN                       Officer            2128 Pebble Beach Dr.                      LEAGUE CITY  TX     77573
 KEFALARI MASON                      Officer            13810 Majestic Spring Lane                 Humble       TX     77396
 KEVIN STANLEY                       Director           12445C Park Shadows Trail - B              HOUSTON      TX     77058
 LAURA HOTARD                        Officer            1874 Round Rock Street                     FRIENDSWOOD  TX     77546
 OLIVER PUSKAC                       Officer            9014 Elizabeth Road                        HOUSTON      TX     77055
 BRUCE SMITH                         Director           400 ELIZABETH ROAD                         San Antonio  TX     78209   Former Director, ended June 8, 2016
 IAN ANDERSON                        Officer/Director   48 Sugar Berry Circle                      HOUSTON      TX     77024
 ROBERT H WALLS, JR                  Director           132 PARK HILL DR                           San Antonio  TX     78212
 COOPERS INVESTMENT PARTNERS, LLC    Partner            1114 AVENUE OF THE AMERICAS, 41st Floor    New York      NY    10036                                91.87%    Current Ownership %
 SCOTT MCCLARY                       Officer            2903 Bay Isle,                             Houston      TX     77059
 Kreg Stanley                        Director           700 Oak Park Ct.                           FRIENDSWOOD  TX     77546
 Bill Stanley                        Director           12445 B Park Shadow                        HOUSTON      TX     77058
 Mitch Taylor                        Director           1114 AVENUE OF THE AMERICAS, 41st Floor    New York      NY    10036
 Steve Cooper                        Director           1114 AVENUE OF THE AMERICAS, 41st Floor    New York      NY    10036
 Martin Siddle                       Officer            6008-F Glencove Street                     HOUSTON      TX     77007   Former Officer, ended March 2016
 Stanley Investment Partners Inc     Partner            P. O. Box 1042                             Seabrook     TX     77586                                  8.13%   Current Ownership %
                                         Case 17-33203 Document 4 Filed in TXSB on 05/26/17 Page 22 of 23
Attachment 30 - Form 207 Part 13, Question 30                                        Pay History
Officer Compensation                                                            VENTECH ENGINEERS LP
                                                                                         5/1/2016 - 4/30/2017




                                                                              Earnings                                 Tax Deductions                  Voluntary Deductions
                           Employee Information                 Desc          Hours         Gross Pay     Desc             Wages        Amount     Desc                Amount     Net Pay

      SUMMARY for 5/1/2016 - 4/30/2017                          Reg Job Hrs       568.00      102,403.86 Federal           326,552.02    88,721.18 401K               30,692.32
      Anderson, Ian                          Emp#:       4258   Comp                0.00        2,226.89 Soc Sec EE        121,260.87     7,518.17 HEALTH INS          6,867.70
      Company:     E807K                     Dept:       00     MATCH               0.00        4,730.76 Medicare EE       357,244.34     6,627.72 Prtx HSA           10,337.28
      Hire Date:   11/2/2015                 Division:          Hol Hours          64.00       11,538.48                                           DentalVision        1,630.36
      Freq:        Bi-Weekly                 Branch:            PTO               241.79       43,303.57                                           DISABILITY            672.10
                                             JobCode:    8809   REG HRS         1,090.00      218,437.77
                                                                *GTL                0.00          396.00
                                                                *ER HSA             0.00        2,019.15

                                                                Total:          1,963.79      375,683.68 Total:                         102,867.07 Total:             50,199.76      222,616.85
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Ventech Engineers L.P.
Attachment
Form 207, Part 13, Question 30 - Payments, distributions to insiders

                         Position /
                         Relationship to
Name                     Debtor               Address                       City           State   Zip      Total Amount Dates                     Reason
                                                                                                                                                    Services performed
                                                                                                                                                    as a consultant prior
 JOERG MATTHIESSEN        Chairman/Director    222 12TH STREET, UNIT 2107    Atlanta        GA      30309     $300,000.00   5/1/2016 - 4/30/2017    to 2016
 JOERG MATTHIESSEN        Chairman/Director    222 12TH STREET, UNIT 2107    Atlanta        GA      30309      $67,000.00   5/1/2016 - 4/30/2018    Board Compensation
 BRUCE SMITH              Director             400 ELIZABETH ROAD            San Antonio    TX      78209       $8,500.00   5/1/2016 - 4/30/2017    Board Compensation
 ROBERT H WALLS, JR       Director             132 PARK HILL DR              San Antonio    TX      78212      $45,611.92   5/1/2016 - 4/30/2017    Board Compensation
